                   Case 2:22-cv-02160-CFK Document 9 Filed 08/15/22 Page 1 of 1




From:                Vacant Land Experts <vacantlandexperts@gmail.com>
Sent:                Monday, August 15, 2022 12:56 PM
To:                  PAED Documents
Subject:             2:22-cv-02160-CFK



CAUTION - EXTERNAL:


My name is Alexandra Currier. I received a letter from the court and they want a pleading to be filed by August 22, 2022.
I already informed the plaintiff's attorney and told them several times that I cannot afford a lawyer. I'm facing
homelessness right now and I certainly don't have any money to hire a lawyer. The civil action that was brought against
my company which is now closed I am not guilty of. I don't know what else to do so I went on the website and tried to
get a phone number but all I could Gap was this email address. My telephone number is 727‐678‐8793
 CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
 attachments or clicking on links.




                                                            1
